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PROFILE

                     I am currently an attorney and a Major with the Cobb County Police Department. I began my
          career in law enforcement in 1994 with the Georgia State University Police Department as a campus police
          officer. In 1995, I began work as a patrolman with the Cobb County Police Department. While I worked
          as a patrolman on the overnight shift, I attended John Marshall Law School during the evenings beginning
          in 1996 and graduated Magna Cum Laude in December of 1999. In February 2000 I sat for the Georgia
          Bar Examination and received a passing score. I then began practicing real estate law as secondary
          employment. A desire to provide my community with professional police services has motivated me to
          continue my career in law enforcement.
                     Shortly after completion of law school, I was appointed to Detective in the Criminal Investigations
          Unit. My primary responsibility was to investigate various felony and misdemeanor crimes against
          property. In addition, I also participated in "plain clothes stake-out" details in response to various crime
          patterns that would occur in my assigned area.
                     After gaining experience in various felony and misdemeanor investigations, I was assigned to the
          Training Unit and promoted to the rank of Corporal. At the training unit, I was the immediate supervisor to
          the police recruit class. The unit conducted two twenty-one week recruit classes per year. I was
          responsible for teaching Criminal Law, Criminal Procedure, Liability, and a mock trial class. I also
          assisted in instruction of law enforcement skills such as traffic stops, felony response and building clearing.
          I was also responsible for legal and liability training to all department members. I taught annual in-service
          classes on criminal law, forced entry into private premises, legality of arrest of suspects while in their
          residences, exigent circumstances, levels of officer citizen encounters, consent searches, law enforcement
          response to the mentally ill and involuntary committals, state civil liability and federal Constitutional
          liability.
                     In November 2003, I was promoted to Sergeant in the Uniform Bureau and assigned to supervise a
          squad of approximately fifteen officers. This involved direct supervision and review of officers actions
          taken while responding to crimes and enforcing various laws. This included organization of the initial
          police response to barricaded suspects, warrant service, and other high risk situations. I supervised vehicle
          pursuits and conducted post pursuit reviews to ensure that proper police procedures have been followed. I
          responded to crime scenes and directed investigations that were undertaken by uniformed officers. I also
          reviewed use of force incidents to determine whether department policies and proper police procedures
          were followed. In addition to these tasks, I continued to teach the various aforementioned classes at the
          training center as requested and have also been requested to teach at other agencies such as the North
          Central Georgia Police Academy and the Gwinnett County Fire Investigators Course. Lastly, I have been
          retained in the capacity of an expert/ consultant on an excessive force and false arrest case in Georgia.
                     In January 2006, I was assigned to the Office of the Chief of Police to act as a Legal Officer.
          Details of my current duties are listed below. While in this assignment, I was promoted to the rank of
           Lieutenant in May of 2007.
                     In December of 2009, I was appointed to the rank of Captain and placed in command of the
          Administrative Services Bureau. This command includes units such as Records, Evidence, Public
          Information Officers, Accreditation, Special Projects, and Permits. I am also still performing the duty of
          Legal Officer to the Chief of Police.
                     In July of 2012, I transferred to the Cobb County Department of Public Safety Training Unit
          where I currently serve as the Director of the Police Academy for the Cobb County Police Department.
                     In February 2016, I was appointed to the rank of Major and placed in Command of Precinct V.
          Precinct V, is a full service law enforcement precinct which encompasses both uniform patrol and
           detectives.



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LAW ENFORCEMENT EXPERIENCE

Cobb County Police Department, Maior, Precinct V, February 2016 to Present
                 • Oversees a full service police precinct which includes both uniform patrol officers and detectives.
                 • Reviews Uses of Force
                 • Reviews Vehicle Pursuits
                 • Supervises investigations regarding misconduct
                 • Supervises and reviews citizen complaints
                 • Represents the department at various function and community events
                 • All other duties required to oversee Precinct operations

Cobb County Department of Public Safety, Police Academy Director July 2012 to Feb 2016
             • Oversees all training for the Cobb County Police Department to include Basic Mandate Training, Advanced
                Training, Annual Training, Emergency Vehicle Operations Training, Use of Force Training and Firearms
                Training.
             • Acts as the primary department legal instructor for subjects to include legal aspects of search and seizure,
                interrogations, use of force, emergency vehicle operations and pursuits and various other legal topics.
             • Reviews all cases involving Use of Force for policy compliance, law compliance and training needs.
             • Reviews all vehicle pursuits for policy compliance, law compliance and training needs.
             • Continues to act as Legal Officer for the Chief of Police. This involves acting as a Liaison with between the
                department and the county attorney's office; advising the chief regarding Internal Affairs investigations,
                pursuits, contracts, memorandum of understanding between the department and other agencies, disciplinary
                matters, policy, and other legal duties that arise.

Cobb County Police Department, Captain, Admin. Bureau Commander December 2009 to July 2012
             • Acts as Legal Officer for the Chief of Police. This involves acting as a Liaison with between the department
                 and the county attorney's office; advising the chief regarding Internal Affairs investigations, pursuits, contracts,
                 memorandum of understanding between the department and other agencies, disciplinary matters, policy, and
                 other legal duties that arise. It also involves the duties listed below in the "chiefs office" assignment.
             • Commands the following units within the police department: Records, Evidence, Public Information Officers,
                 Accreditation, Special Projects, and Permits.
             • While not related to the Cobb County Police Department, I teach legal subjects for the Public Agency Training
                 Council (PATC). Topics that I teach include policy that relates to high risk, critical taskes (i.e.: search and
                 seizure, emergency vehicle operation, use of force, etc ... ), and school law. I also write various legal articles for
                 PATC.



Cobb County Police Department, Chief's Office                           January 2006 to December 2009
             • Acts as a legal advisor to the Chief of Police.
             • Researches legal issues relating to the department at the request of the Chief.
             • Reviews legal issues that relate to department policy and makes recommendations to the Chief.
             • Reviews discipline for legal sufficiency at the request of the Chief.
             • Prepares legal updates for the police department.
             • Responds to legal questions from supervisors in the field.
             • Teaches criminal law and both advanced and basic criminal procedure to members of the department and police
                 academy recruits.
             • Teaches annual training classes on various legal topics to include procedures for dealing with the mentally ill,
                 search and seizure, and liability. Total teaching hours per year total approximately 325 hours.
             • Acts as a liaison between the department and the District Attorney's Office, the Solicitor's Office, and the
                 County Attorney's Office.
             • Reviews and responds to citizen complaints.


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                •     Supervises the department Public Information Officers.



Cobb County Police Department                                           1995 to Present
         (Metro Atlanta police agency with approximately 600 sworn officers and a population of
         approximately 700,000 (as of 2010).)
         Sergeant, Uniform Patrol                                       November 2003 to Present
             • Supervise a squad of approximately fifteen uniform police officers as they perform uniform patrol
                 duties.
             • Coordinate the initial uniform response to barricaded suspect and high risk warrant service.
             • Review and assess officer's "Use of Force Statistical Reports."
             • Supervise vehicle pursuits.
             • Review legal and policy issues regarding vehicle pursuits.
             • Respond to and supervise police response to crimes in progress.
             • Respond to and supervise uniform officers that respond to serious crime scenes such as homicides
                 and fatality traffic accidents.
             • Review training status reports given by field training officers to police recruits.
             • Prepare yearly performance appraisals of police officers under my supervision.
             • Conduct investigations relating to allegations of police officer misconduct and recommend
                 discipline and training when violations are sustained.
             • Conduct "in-service" training for police officers under my supervision.
             • Teach the legal topics mentioned below.


            Corporal, Training Unit                                      September 2001 to Nov 2003
               • Instructed police recruits, uniform officers, detectives and command staff in the topic of Criminal
                  Procedure (Fourth, Fifth, and Sixth Amendments). Topics covered include law of arrest with and
                  without warrants, searches of persons, personal property, and homes, plain view, plain feel, search
                  warrants, levels of officer/citizen encounters, warrantless searches, vehicle impounds, Miranda
                  and custodial interrogations, and Sixth Amendment right to counsel.
               • Instructed police recruits, uniform officers, detectives and command staff in the topic of Criminal
                  Law. Areas of Criminal Law encompassed included elements of various crimes, defenses, and use
                  of non-deadly and deadly force.
               • Instructed police recruits, uniform officers, detectives and command staff in the topic of Traffic
                  Law. Areas of traffic law encompassed elements of various traffic offenses, D.U.I., implied
                  consent, and offenses for which a custodial arrest may be made.
               • Instructed police recruits in the topic of police pursuits, including the Precision Immobilization
                  Technique (P.I.T.), "Stop Sticks", Box-In, and the General Electric "I-Sim" Driving Simulator.
                  Also instructed on departmental policy on operation of police vehicles.
               • Instructed police recruits on the topic of traffic stops. Areas of traffic stops included officer
                  safety, managing vehicle occupants, field interviews, unknown risk traffic stops, and high
                  risk/felony traffic stops.
               • Instructed police recruits on the topic of building clearing. Areas of building clearing include
                  unknown risk building clearing, high risk building clearing, clearing techniques, and managing
                  occupants/suspects during building clearing.
               • Taught the "Scenario and Mock Trial" for police recruits. This is a series of role-play scenarios
                  that police officers will encounter. Recruits are trained and evaluated in handling these scenarios
                  and then are required to write an accurate report about the incident. Recruits are then trained and
                  evaluated during a mock trial where they must testify to their actions and respond appropriately to
                  cross-examination.
               • Prepared Legal Updates for the department on changes in substantive law and case law.
               • Answered questions from officers and supervisors about situations that are developing in the field.
               • Updated the County Ordinance Code to ordinances that relate to the police department.
               • Managed the Police Department's Internship Program.



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                 •    Taught law related topics to high school students involved in the Police Explorer Program.
                 •    Supervised approximately twenty police recruits as they attended the police academy.

            Detective, Crimes Against Property                            August 2000 to September 2001
               • Acted in the capacity of primary case agent for investigations of both felony and misdemeanor
                    crimes against property such as burglary, criminal damage to property, theft, forgery, financial
                    transaction card fraud and other crimes against property.
               • Acted in a "plain clothes" capacity on a stake out unit responsible for detecting various crimes in
                    progress.
               • Related duties included interviewing both suspects and witnesses, processing crime scenes,
                    securing and executing search and arrest warrants, testifying in court, and collection and storage of
                    evidence and preparing detailed reports on various investigations.

            Officer, Uniform Patrol                                        July 1995 to August 2000
                • Responded to emergency calls for service,
                • Enforced state law to include traffic law, crimes against persons, domestic violence, crimes against
                    property, and violations of the Georgia Controlled Substance Act, and investigations of motor
                    vehicle collisions.
                • Interviewed suspects, victims, and witnesses.
                • Wrote detailed reports on the above incidents.
                • Responded to emergencies in emergency mode.
                • Initiated pursuits and participated in pursuits as a back up officer.

Georgia State University Police Department, Officer, Uniform Patrol
                                                                         September 1994 to June 1995
               • Responded to emergency calls for service, enforced state law, conducted the initial investigation
                  of crimes against persons and property, directed traffic, and provided security for the campus.
               • Related duties included interviewing victims, suspects and witnesses, interaction with the students
                  and faculty of the University and writing detailed reports.


LEGAL EXPERIENCE

Perrie & Cole, LLC, Contract Attorney                                    March 2005 to 2006
               • Perform REO residential closings.
               • Review title examination to ensure clear title.
               • Explain various loan documents in conjunction with both refinance transactions and purchases.
               • Review closing instructions to ensure that all lender requirements are satisfied.

Brian S. Batterton, P.C., Sole Practitioner                              October 2003 to 2006
               • Provide legal instruction to Police Departments.
               • Perform residential real estate closings on a contract basis to various law firms.
               • Represent executors of estates during the probate process.
               • Draft both simple Wills and complex Wills that contemplate various estate tax issues of clients.
               • Assist clients in the formation of business entities.

Morris & Schneider, P.C., Contract Attorney                           March 2003 to September 2003
             • Performed real estate closings as a contract attorney.
             • Examined and reviewed title to real property to ensure property was free of encumbrances.
             • Explained various loan documents.
             • Conducted both refinance transactions and purchases.
             • Reviewed closing instructions to ensure that all lender requirements were satisfied.
             • Reviewed closing files after closing, and recorded deeds, riders and subordination agreements.

Robert P. Copeland, P.C., Contract Attorney                                 January 2001 to 2003


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             •    Performed real estate closings.
             •    Reviewed title to ensure property is free from encumbrances.
             •    Explained various loan documents.
             •    Conducted both purchase of real property and refinance transactions.

MILITARY EXPERIENCE
                   •    Georgia Army National Guard                                     1993 to 2001
                   •    Non-Commissioned Officer (Corporal)
                   •    Military Occupational Specialty: 1 lB (Infantry), (Airborne)
                   •    Units: NCO (non-qualified) in Co. A 1120th S.F.G. (Alabama National Guard)
                          -NCO in 202nd Explosive Ordnance Disposal Detachment.
EDUCATION
        John Marshall Law School                Juris Doctor                                    1999
                • Honors         : Graduated Magna Cum Laude
                • West Publisher's Award for Academic Excellence
        Georgia State University         Bachelor of Science, Criminal Justice                  1992
                • Membership: Sigma Nu Fraternity

CERTIFICATIONS

        Valor For Blue Use of Force Trainer                                              August 2014
        Taser Instructor                                                                 January 2013
        Use of Force Instructor, Federal Law Enforcement Training Center                 March 2012
        State Bar of Georgia, Attorney                                                   June 2000
        Instructor Certification, Peace Officer Standards and Training (P.O.S.T)         November 2001
        Pursuit Driver (P.l.T.), P.O.S.T.                                                September 2002
        "Stop Stick" Instructor Certified                                                May 2003
        Field Training Officer, P.O.S.T.                                                 September 2000
        Radar Operator Certification, P.O.S.T.                                           July 1997
        Standardized Field Sobriety Test, NHTSA                                          October 2001
        Basic Law Enforcement Certification                                              October 1994




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